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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


                         )
UNITED STATES OF AMERICA )
                         )
     v.                  )                             Case No. 1:20-cr-10111-RWZ
                         )
CHARLES LIEBER           )
                         )
     Defendant.          )
                         )

           ASSENTED-TO MOTION TO CONTINUE STATUS CONFERENCE

       The United States of America, through the undersigned Assistant U.S. Attorneys,

respectfully moves this Court, with the assent of the defendant, to continue the status conference

currently scheduled for Thursday, January 28, 2021 for approximately 30 days to allow sufficient

time to complete certain pretrial discovery-related matters and for discussion regarding potential

resolution of this matter. In further support of this motion, the Government states as follows.

       The defendant has been charged by Superseding Indictment with making false statements,

making and subscribing false tax returns, and failing to file reports of foreign bank and financial

accounts. He was arraigned on July 30, 2020 and pleaded not guilty. The most recent status

conference was held on October 16, 2020, during which the Court scheduled an interim status

conference on November 16, 2020. The government thereafter filed consecutive assented-to motions

to continue the next status conference dates in order to allow additional time for certain pre-trial

discovery matters. See ECF Nos. 83, 95. The Court granted the motions by minute order and set

January 28, 2021 as the next status conference date See ECF Nos. 84, 96.

       Pretrial discovery-related matters remain nearly, but not entirely, complete.          Harvard

University—the defendant’s employer at all times relevant to this case—has substantially completed

its production of documents to the government. As the Court is aware, the defendant has invoked a
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claim of attorney-client privilege as to some of the documents produced by Harvard. An independent

AUSA not otherwise participating in this matter reviewed the documents over which the defendant

invoked privilege and thereafter filed a motion seeking judicial review concerning the defendant’s

claim. The undersigned understands that the litigation concerning this privilege matter remains

ongoing. In addition, the parties have begun preliminary discussion regarding possible resolution of

this matter and additional time is needed to complete that discussion. Accordingly, with the

defendant’s assent and agreement, the government respectfully moves the Court to continue the status

conference scheduled for January 28, 2021, for approximately 30 days.

       Also with the defendant’s assent, the government separately asks that the Court exclude

the period through and including the new status conference date from the time within which the

trial must commence under the Speedy Trial Act pursuant to 18 U.S.C. §§ 3161(h)(7)(A), and Local

Rule 112.2. The government will submit a separate assented-to motion for excludable delay.

                                              Respectfully submitted,

                                              ANDREW E. LELLING
                                              United States Attorney

                                       By:    /s/ James R. Drabick
                                              JAMES R. DRABICK
                                              JASON A. CASEY

                                              Assistant United States Attorneys



                                  CERTIFICATE OF SERVICE

      I hereby certify that this document was filed on January 27, 2021, through the ECF system,
which will provide electronic notice to counsel as identified on the notice of Electronic Filing.

                                              /s/ James R. Drabick
                                              JAMES R. DRABICK
                                              Assistant United States Attorney



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